           Case 5:22-cr-40021-TC Document 22 Filed 10/26/22 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF KANSAS

 UNITED STATES OF AMERICA,                         )   Case Number:   22-40021
                                                   )
                                        Plaintiff, )
 vs.                                               )
                                                   )
 GREGORY ALLEN GULLICK,                            )
                                                   )
                                      Defendant. )
 ___________________________________________       )   Date of Hearing: 10/26/22

                       CRIMINAL MINUTE SHEET – MOTION HEARING

 JUDGE:                       Hon. Toby Crouse, United States District Judge
 COURT REPORTER:              Sherry Harris
 COURTROOM DEPUTY:            Traci Anderson
 TOTAL TIME IN COURT:         6 minutes

APPEARANCES:   parties appear: IN PERSON
  • UNITED STATES OF AMERICA:     Greg Hough
  • DEFENDANT’S COUNSEL:          Kirk Redmond
  • DEFENDANT:                       In Custody – Present at hearing

NATURE OF HEARING:

Defense counsel requests an additional 3 weeks in order to file a motion for pretrial
release in front of Judge Schwartz and to fully review discovery and discuss next steps
with defendant. The Government does not object. The Court sets a status conference
for November 16, 2022, at 9:00 a.m. before Judge Crouse in Courtroom 401.

The Court makes ends of justice findings pursuant to 18 U.S.C. § 3161(h)(7)(A) and
speedy trial time is excluded from today until 11/16/2022 as to Defendant Gullick.

Defendant remanded to the custody of the US Marshals.
